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                                IN THE UNITED STATES BANKRUPTCY COURT

                                           FOR THE DISTRICT OF DELAWAR


In re:                                                               )            Chapter 11
                                                                     )
W. R. GRACE & CO., et al.,                                           )            Case No. 01-01139 (JK)
                                                                     )            (Jointly Administered)
                                 Debtors.                             )



                                                 CERTIFICATE OF SERVICE


                      I, James E. O'Neil, hereby certify that on the 5th day of                     February, 2010, I caused

a copy of     the following document(s) to be served on the individual(s) on the attached service

list( s) in the maner indicated:


                       Certifcation of Counsel Regarding Order and Joint Pretrial Statement for
                       Limitations Trial on Canadian Propert Damage Claim Numbers 11627 and
                       12476

                       Joint Pretrial Statement for Limitations Trial on Canadian Property
                       Damage Claim Numbers 11627 and 12476

                       (Proposed) Order Regarding Trial on Canadian Property Damage Claim
                       Numbers 11627 and 12476


                                                                                         e~

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